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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MISSOURI
                                   EASTERN DIVISION


JESSICA LANGFORD,                                )
                                                 )
               Plaintiff,                        )
                                                 )
       v.                                        )           No. 4:18CV2037 HEA
                                                 )
CITY OF ST. LOUIS, MISSOURI,                     )
                                                 )
               Defendant.                        )

            DECLARATORY JUDGMENT AND PERMANENT INJUNCTION

       In accordance with the Memorandum and Order of this date and incorporated herein,

       IT IS HEREBY ORDERED , ADJUDGED and DECLARED that § 17.16.275(A) of the

Revised Code of the City of St. Louis is unconstitutional.

       IT IS FURTHER ORDERED that the City of St. Louis, Missouri, its political

subdivisions, officers, agents, servants, employees, attorneys, and all persons acting in concert

with them or in connection with them, are permanently enjoined from enforcing or threatening to

enforce § 17.16.275(A) of the Revised Code of the City of St. Louis.

       Dated this 5th day of March, 2020.




                                                       HENRY EDWARD AUTREY
                                                     UNITED STATES DISTRICT JUDGE
